          Case 3:16-md-02741-VC Document 25 Filed 11/14/16 Page 1 of 2




                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                            Case No. 16-md-02741-VC
 LIABILITY LITIGATION

                                                    ORDER RE BIFURCATION AND
                                                    AGENDA FOR FIRST CASE
 This document relates to:                          MANAGEMENT CONFERENCE
 ALL ACTIONS




       After reviewing the papers filed by the parties in anticipation of the first case

management conference, the Court has determined that the proceedings will be bifurcated, with

the first phase addressing general causation. At the upcoming case management conference, the

parties should be prepared to discuss the following issues:

       1. The plaintiffs' leadership structure. The Court is tentatively of the view that a

           single lead counsel and a small steering committee are appropriate in this MDL, at
           least at this stage in the litigation.

       2. Discovery Disputes. The parties should be prepared to discuss all pending discovery

           disputes except the motion to quash the third-party subpoena. See Motion to Quash

           (Dkt. 1), Hardeman v. Monsanto Co., 16-mc-80232 (N.D. Cal. Sept. 14, 2016).

       3. Scheduling. A schedule will be set for all matters related to general causation

           leading up to the Daubert hearing.

       4. Scheduling a tutorial. The Court anticipates scheduling a science tutorial well
           before the Daubert hearing. The purpose of the tutorial will be to familiarize the
         Case 3:16-md-02741-VC Document 25 Filed 11/14/16 Page 2 of 2




           Court with the science and to identify which scientific issues are relevant and in

           dispute. The tutorial will be held off the record, and the parties will not be permitted

           to use statements made by experts at the tutorial in later depositions or examinations.

       5. Appointment of an independent expert. The Court is considering whether a

           nontestimonial technical advisor – appointed under the Court's inherent powers rather

           than under Rule 706 – would help clarify the science in this case.

       6. Additional issues. The parties should be prepared to discuss any remaining issues

           mentioned in the parties' submissions to date. If the parties wish to discuss something

           not mentioned in the submissions, it would be helpful (though not required) to file a

           notice in advance of the case management conference identifying the issue to be

           discussed.

       The parties are reminded that they can use CourtCall to listen to – but not participate in –

this and all future case management conferences. CourtCall access for the upcoming case

management conference closed on November 9. CourtCall access in future conferences can be

arranged by calling (866) 582-6878 no later than noon on the day prior to the conference. Case

management conferences will be on the record unless otherwise indicated.

       IT IS SO ORDERED.

Dated: November 14, 2016
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




                                                 2
